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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

EQUAL EMPLOYMENT                    :
OPPORTUNITY COMMISSION,             :
                                    :
               Plaintiff,           :
                                    :               CIVIL ACTION NO.
                 v.                 :
                                    :
ISS FACILITY SERVICES, INC.,        :
                                    :               JURY TRIAL DEMANDED
               Defendant.           :
___________________________________ :

                                   COMPLAINT

      This is an action under Title I of the Americans with Disabilities Act of 1990,

as amended (the “ADA”), and Title I of the Civil Rights Act of 1991 to correct

unlawful employment practices on the basis of disability and to provide appropriate

relief to Ronisha Moncrief (“Moncrief”), who was adversely affected by such

practices. The Equal Employment Opportunity Commission (the “Commission” or

“EEOC”) alleges that Defendant ISS Facility Services, Inc. (“Defendant”)

discriminated against Moncrief when it denied her reasonable request for an

accommodation and terminated her employment because of her disability and in

retaliation for engaging in a protected activity.
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                          JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,

1337, 1343 and 1345. This action is authorized and instituted pursuant to Section

107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Sections

706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title VII”), as

amended, 42 U.S.C. § 2000e-5(f)(1) and (3) and 2000e-6, and Section 102 of the

Civil Rights Act of 1991, 42 U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Northern District

of Georgia, Atlanta Division.

                                     PARTIES

      3.     Plaintiff, the Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation and enforcement of the ADA and is expressly

authorized to bring this action by Section 107(a) of the ADA, 42 U.S.C. § 12117(a),

which incorporate by reference Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. §

2000e-5(f)(1) and (3).

      4.     At all relevant times, the Defendant has conducted business in the State

of Georgia and has continuously maintained at least 15 employees.

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      5.     At all relevant times, the Defendant has continuously been an employer

engaged in an industry affecting commerce within the meaning of Section 101(5) of

the ADA, 42 U.S.C. § 12111(5), and Section 101(7) of the ADA, 42 U.S.C. §

12111(7), which incorporate by reference Sections 701(g) and (h) of Title VII, 42

U.S.C. § 2000e(g) and (h).

      6.     At all relevant times, the Defendant has been a covered entity under

Section 101(2) of the ADA, 42 U.S.C. § 12111(2).

                      ADMINISTRATIVE PROCEDURES

      7.     More than thirty days prior to the institution of this lawsuit, Moncrief

filed a Charge of Discrimination with the Commission alleging violations of the

ADA by Defendant.

      8.     On June 9, 2021, the Commission issued to Defendant a Letter of

Determination finding reasonable cause to believe that the ADA had been violated

and inviting Defendant to join with the Commission in informal methods of

conciliation to endeavor to eliminate the unlawful employment practices and provide

appropriate relief.

      9.     On June 17, 2021, the Commission issued to Defendant a Notice of

Failure of Conciliation advising Defendant that the Commission was unable to

secure from Defendant a conciliation agreement acceptable to the Commission.

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       10.   All conditions precedent to the institution of this lawsuit have been

fulfilled.

                            STATEMENT OF CLAIMS

       11.   Moncrief was hired by Defendant, a provider of office maintenance

and management services, as a Health Safety & Environmental Quality Manager

(“HSE Manager”) at the Takeda Pharmaceuticals manufacturing facility located at

505 Shire Parkway, Social Circle, Georgia, 30025, Newton County.

                   DISABILITY DISCRIMINATION CLAIM

       12.   Since at least June 2020, Defendant has engaged in unlawful

employment practices in violation of Section 102 of the ADA, 42 U.S.C. § 12112(a)

and (b).

       13.   Moncrief is a qualified individual with a disability under Sections 3 and

101(8) of the ADA, 42 U.S.C. §§ 12102 and 12111(8). Moncrief has physical

impairments, including chronic obstructive lung disease and hypertension, both of

which substantially limit her in the operation of major bodily functions, including

the functions of the pulmonary and cardiovascular systems. Moncrief’s physical

impairments also limit her in major life activities, that include but are not limited to,

breathing, standing, walking, running, working, and bending.

       14.   On or about March 1, 2020, Moncrief became sick while at work with

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a fever, sweats, and uncontrollable cough. Moncrief also experienced shortness of

breath, lack of energy, fatigue, difficulty breathing, and extreme chest discomfort.

       15.   Moncrief informed her supervisor and the Facility Manager about her

condition via text and email. Moncrief then took two vacation days from work to

seek medical attention.

       16.   On or about March 4, 2020, Moncrief was diagnosed with Obstructive

Lung disease. After seeking medical attention, her doctor recommended that she

work from home and take frequent breaks while working. Her doctor also completed

Defendant’s ADA Reasonable Accommodation Request Medical Certification Form

and wrote that Moncrief has limitations in major life activities interfering with her

job performance, including frequent coughing episodes and shortness of breath with

activity.

       17.   Around this same time period in March 2020, due to the COVID-19

pandemic, Defendant’s staff were placed on work schedules where employees

worked in the facility on a rotational basis, resulting in Moncrief and other

employees having to work from home four days per week.

       18.   Working from home helped Moncrief in managing her condition.

However, on or about June 1, 2020, Defendant required all of its staff to return back

to working at the facility five days per week.

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      19.   As a result, Moncrief requested an ADA accommodation through

Human Resources to work from home two days per week with frequent breaks while

working on-site. In the documentation Moncrief submitted to Defendant, it was

noted that Moncrief needed the accommodation because her past and recent bouts

with severe pulmonary disease made her a high-risk for contracting COVID-19. In

the performance of her job duties, Moncrief had close contact with many employees

and often shared a desk with co-workers.

      20.   On or about July 20, 2020, Moncrief’s request for an accommodation

was denied by Defendant.

      21.   Other HSE Managers were allowed to work from home.

      22.   On or about August 13, 2020, Moncrief’s supervisor contacted Human

Resources recommending that Moncrief be removed and replaced due to

“performance issues.”

      23.   Defendant terminated Moncrief’s employment on or about September

11, 2020, citing performance issues.

      24.   At the time she was terminated, Moncrief had not been informed by

management that her job performance warranted termination. In the months leading

up to her termination, Moncrief helped to increase employee training facility-wide

by over 15%.

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          25.   Moncrief could perform all essential functions of her position with an

accommodation.

          26.   The effects of the practice(s) complained of above have been to deprive

Moncrief of equal employment opportunities and otherwise adversely affect her

status as an employee because of her disability.

          27.   The unlawful employment practices complained of above were

intentional.

          28.   The unlawful employment practices complained of above were done

with malice and/or with reckless indifference to Moncrief’s federally protected

rights.

                               PRAYER FOR RELIEF

          WHEREFORE, the Commission respectfully requests that this Court:

          A.    Grant a permanent injunction enjoining Defendant, its officers,

successors, assigns and all persons in active concert or participation with it, from

engaging in any employment practice which discriminates on the basis of disability

and which discriminates against individuals who engage in protected activity.

          B.    Order Defendant to institute and carry out policies, practices and

programs which provide equal employment opportunities for all employees who

engage in a protected activity and which eradicate the effects of its past and present

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unlawful employment practices.

      C.     Order Defendant to make Moncrief whole, by providing appropriate

back pay in amounts to be determined at trial, and other affirmative relief necessary

to eradicate the effects of Defendant’s unlawful employment practices.

      D.     Order Defendant to make Moncrief whole, by providing compensation

for past and future pecuniary losses resulting from the unlawful employment

practices described above, in amounts to be determined at trial.

      E.     Order Defendant to make Moncrief whole, by providing compensation

for past and future non-pecuniary losses resulting from the unlawful practices

described above, including inconvenience, emotional pain and suffering, anxiety,

stress, depression, loss of enjoyment of life, and humiliation, in amounts to be

determined at trial.

      F.     Order Defendant to pay Moncrief punitive damages for its malicious

and reckless conduct described above, in amounts to be determined at trial.

      G.     Grant such further relief as the Court deems necessary and proper in the

public interest.

      H.     Award the Commission its costs of this action.




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                          JURY TRIAL DEMAND


     The Commission requests a jury trial on all questions of fact raised by this

Complaint.

                                           Respectfully submitted,

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